 

 

Case 2:15-cv-03879-JMA-ARL Document 50-3 Filed 11/14/19 Page 1 of 20 PagelD #: 133

EXHIBIT “B”
 

 

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

Xx
EDWARD REICHERTER,
15-cv-3879
Plaintiff, (JMA)(ARL)
-against- VERIFIED ANSWER
TOWN OF HEMPSTEAD,

Defendant.
Defendant, THE TOWN OF HEMPSTEAD (hereinafter “Town”), by its attorneys,
BERKMAN, HENOCH, PETERSON, PEDDY & FENCHEL, P.C., as and for its Verified

Answer to the Verified Complaint herein, respectfully allege as follows:

 

1. Town denies each and every allegation set forth in paragraph “1” of the Verified
Complaint except to aver that Plaintiff has been employed by the Town since November 12,
1985. |

2. Town denies each and every allegation set forth in paragraph “2” of the Verified

Complaint, and respectfully refers all questions of law to the Court.

AS AND FOR AN ANSWER TO

3. Town neither admits nor denies the truth of each and every allegation set forth in
paragraph “3" of the Verified Complaint, and respectfully refers all questions of law to the Court.
4. Town neither admits nor denies the truth of each and every allegation set forth in

paragraph “4” of the Verified Complaint, and respectfully refers all questions of law to the Court.
 

 

AS AND FOR.AN ANSWER TO PARTIES

5. Town denies knowledge and information sufficient to form a belief as to the truth
of the allegations set forth in paragraph “5” of the Verified Complaint, except to aver that
Plaintiff was an employee of the Town.

6. Town admits the allegations set forth in paragraph “5S” of the Verified Complaint.

AS AND FOR AN ANSWER TO THE FACTUAL ALLEGATIONS
| Background |

7. Town admits the allegations set forth in paragraph “7” of the Verified Complaint.

8. Town denies knowledge and information sufficient to form a belief as to the truth
of the allegations set forth in paragraph “8” of the Verified Complaint, except to aver that
Plaintiff was an employee of the Town since November 1985.

9. Town denies the allegations set forth in paragraph “8” of the Verified Complaint,
except to aver that he was assigned as a Park Supervisor II at Oceanside Park on January 16,
2006.

10. | Town denies knowledge and information sufficient to form a belief as to the truth
of the allegations set forth in paragraph “10” of the Verified Complaint, except to aver that in
2009 Plaintiff passed the Park Supervisor III Civil Service Examination.

11. | Town denies knowledge and information sufficient to form a belief as to the truth
of the allegations set forth in paragraph “11” of the Verified Complaint, except to aver that
Plaintiff was assigned as a Park Supervisor III to Newbridge Road Park on April 25, 2011.

12. | Town denies knowledge and information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “12” of the Verified Complaint.

 
 

 

13. Town denies knowledge and information sufficient to form a belief as to the truth
of the allegations set forth in paragraph “13” of the Verified Complaint, except to aver that Bay
Park is part of the Nassau County Department of Parks and Recreation and is not maintained by
the Town.

14. | Town denies knowledge and information sufficient to form a belief as to the truth
of the allegations set forth in paragraph “14” of the Verified Complaint, except to aver that the
Town does not have control over the Republican Club committeeman lists.

15. Town denies knowledge and information sufficient to form a belief as to the truth
of the allegations set forth in paragraph “15” of the Verified Complaint, except to aver that the
Town does not have control over the membership in the East Rockaway Republican Club.

16. | Town denies knowledge and information sufficient to form a belief as to the truth
of the allegations set forth in paragraph “16” of the Verified Complaint, except to aver that the
Town and the East Rockaway Village are two completely different municipalities and the Town
exercises no control over the East Rockaway Village, its administration or any Village
department.

17. Town denies knowledge and information sufficient to form a belief as to the truth
of the allegations set forth in paragraph “17” of the Verified Complaint, except to aver that
Plaintiff was assigned on May 21, 2012 to Shell Creek Island Park as the park supervisor in the
position of Park Supervisor III.

18. Town denies the allegations set forth in paragraph “18” of the Verified
Complaint, and avers that Brian Dazzo became the park supervisor of Newbridge Road Park.

19. Town denies knowledge and information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “19” of the Verified Complaint.
 

 

20. | Town denies knowledge and information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “20” of the Verified Complaint, except to admit that in
October 2012, Super Storm Sandy caused catastrophic damage to the low lying areas of the south
shore of Long Island which includes Harbor Isle, an unincorporated area within the boundaries
of the Town of Hempstead.

21. Town denies knowledge and information sufficient to form a belief as to the truth
of the allegations set forth in paragraph “21” of the Verified Complaint, except to aver that
Plaintiff took an emergency leave of absence from October 2012 to January 2013.

22. | Town denies knowledge and information sufficient to form a belief as to the truth
of the allegations set forth in paragraph “22” of the Verified Complaint.

23. | Town denies knowledge and information sufficient to form a belief as to the truth
of the allegations set forth in paragraph “23” of the Verified Complaint.

24. Town denies the allegations set forth in paragraph “24” of the Verified
Complaint, except to aver that Plaintiff returned to work on January 9, 2013.

25. Town denies the allegations set forth in paragraph “25” of the Verified
Complaint, except to aver that the Shell Creek Island Park suffered extensive damage as a result
of Super Storm Sandy.

26. Town denies knowledge and information sufficient to form a belief as to the truth
of the allegations set forth in paragraph “26” of the Verified Complaint, and denies that portion
of the paragraph that alleged Plaintiff advised John Zappola when he would leave the Park.

27. Town denies the allegations set forth in paragraph “27” of the Verified

Complaint.

 
 

 

28. | Town denies knowledge and information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “28” of the Verified Complaint.

29. Town denies knowledge and information sufficient to form a belief as to the truth
of the allegations set forth in paragraph “29” of the Verified Complaint, and avers that the Town
and the East Rockaway Village are two different municipalities and the Town exercises no
control over the Village and/or any of the Village’s departments.

30. | Town denies the allegations set forth in paragraph “30” of the Verified Complaint
with regard to the specific allegation that the Town subjected Plaintiff to increased harassment
and discrimination and denies knowledge and information sufficient to form a belief as to the
truth of the remaining allegations set forth in paragraph “30” of the Verified Complaint.

31. | Town denies the allegations set forth in paragraph “31” of the Verified Complaint
except to aver that after a three month investigation into the GPS records of the Plaintiff's
assigned fire department vehicle and his Town time records, Plaintiff was interviewed about the
findings by Special Investigator Ray Enright in the presence of a union representative.

32. Town denies the allegations set forth in paragraph “32” of the Verified
Complaint.

33. Town denies the allegations set forth in paragraph “33” of the Verified
Complaint, except to aver that the Town and the East Rockaway Village are two different
municipalities and the Town exercises no control over the Village and/or any of the Village’s

departments.

 

34. . Town denies knowledge and information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “34” of the Verified Complaint.
 

35. Town admits the allegations set forth in paragraph “35” of the Verified

Complaint.

36. Town denies the allegations set forth in paragraph “36” of the Verified
Complaint, and avers that Plaintiff was terminated on August 26, 2013 for good cause after a
thorough investigation was performed.

37. Town denies the allegations set forth in paragraph “37” of the Verified
Complaint, except to aver that Plaintiff received a Notice of Discipline and Charges on
November 6, 2009 regarding Plaintiff's unexcused absence from work. This Notice of
Discipline and Charges provided for a 30-day suspension and a written advisement that “future
infractions of this nature will result in termination of employment.” See Exhibit A, Notice of
Discipline and Charges dated November 6, 2009, attached hereto.

38. Town admits the allegations set forth in paragraph “38” of the Verified
Complaint. .

39. | Town denies knowledge and information sufficient to form a belief as to the truth
of the allegations set forth in paragraph “39” of the Verified Complaint.

40. Town admits the allegations set forth in paragraph “40” of the Verified
Complaint.

41. Town denies the allegations set forth in paragraph “41” of the Verified
Complaint.

42. Town denies the allegations set forth in paragraph “42” of the Verified
Complaint.

43. Town denies the allegations set forth in paragraph “43” of the Verified

Complaint, except to aver that when Plaintiff was reinstated to his employment with the Town
 

 

(June 2, 2014), he was assigned to the administration office of the Parks Department in the same

title he held at the time of his termination in August 2013 (Park Supervisor II]) with an increase
in salary.

44. Town denies the allegations set forth in paragraph “44” of the Verified
Complaint.

45. Town denies the allegations set forth in paragraph “45” of the Verified Complaint
and avers that Plaintiff, upon his termination, was paid for his accrued time of 21 vacation days
and seven (7) hours of sick time. As such, Plaintiff was not entitled to any accrued time upon his
return to Town employment.

46. Town denies the allegations set forth in paragraph “46” of the Verified
Complaint, except to aver that it complied with the May 20, 2014 decision of the arbitrator which
specified set forth that Plaintiff should be “returned to his position of Parks Supervisor with no
back pay or any additional benefits.”

47. Town denies the allegations set forth in paragraph “47” of the Verified Complaint
except to aver that Plaintiff has worked for the Town since November 1985.

48. Town denies the allegations set forth in paragraph “48” of the Verified Complaint
except to aver that Plaintiff filed an application and paid the non-refundable processing fee with
the Town of Hempstead Civil Service Commission to take the Special District Park Supervisor
examination which was given on February 28, 2015.

49. Town admits the allegations set forth in paragraph “49” of the Verified
Complaint.

50. Town denies the allegations set forth in paragraph “50” of the Verified Complaint

and avers that Plaintiff was not qualified to take the examination for the Special District Park

 
 

Supervisor as he did not meet the minimum qualification as follows: “To be eligible, a candidate

must now be serving and have served in a continuous full-time permanent, competitive-class
status as a PARK SUPERVISOR III or PARKS MAINTENANCE SUPERVISOR, with the Town

of Hempstead, Department of Parks & Recreation, for

 

ion or be on a valid, unexpired leave of absence from such position.”

 

See Exhibit B, Promotional Examination Notice, attached hereto. Plaintiff was terminated
August 26, 2013. He was reinstated June 2, 2014. As a result, he did not meet the minimum
requirements of serving in a continuous, full-time permanent position as a Park Supervisor III for
at least 12 months immediately preceding the examination of February 28, 2015.

51. Town denies the allegations set forth in paragraph “S31” of the Verified

Complaint.

AS AND FOR. AN ANSWER TO THE
FIRST. CAUSE OF ACTION

rst Amendment Retaliation — Free S, eech

   

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52. Town repeats, reiterates and realleges the answers set forth in paragraphs
through “51” as if the same were set forth at length herein and denies the allegations set forth in
paragraph “52” of the Verified Complaint and respectfully refers all questions of law to the
Court.

AS AND FOR AN ANSWER TO THE
SECOND CAUSE OF ACTION

(First Amendment Retaliation ~ Assembly)

   

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53. Town repeats, reiterates and realleges the answers set forth in paragraphs
through “52” as if the same were set forth at length herein and denies the allegations set forth in
paragraph “53” of the Verified Complaint and respectfully refers all questions of law to the

Court.

 
 

54. | Town repeats, reiterates and realleges the answers set forth in paragraphs “1”

through “53” as if the same were set forth at length herein and denies the allegations set forth in
paragraph “54 (a), (b) and (c)” of the Verified Complaint and respectfully refers all questions of
law to the Court.
FIRST AFFIRMATIVE DEFENSE.
55. The Verified Complaint fails to state a cause of action upon which relief can be
granted against Defendant.
SECOND AFFIRMATIVE DEFENSE
56. None of the acts complained of herein were taken pursuant to an official policy,
custom or practice of Defendant and accordingly, the Verified Complaint fails to state a cause of
action upon which relief can be granted.
THIRD AFFIRMATIVE DEFENSE
57. Plaintiff has sustained no damages and in any event has failed to mitigate any
damages allegedly sustained.
FOURTH AFFIRMATIVE DEFENSE
58. Plaintiffs claims are barred in whole or in part to the extent that the Defendant’s
actions were not the proximate cause of the harms alleged.

ETETH AFFIRMATIVE DEFENSE

   

59. Upon information and belief, in the event the Plaintiff is found to have sustained
any injury as alleged in the Verified Complaint, all of which is expressly denied, then the injuries

sustained or not as a result of any culpable conduct of Defendant, or in the alternative, the
 

amount of damages otherwise recoverable shall be diminished in the percentage proportioned to

the culpable conduct of the Plaintiff which contributed to or caused Plaintiff's injury.

   

SIXTH AFFIRMATIVE DEFENSE

60. Pursuant to the Monell doctrine, Defendant cannot be held liable for the acts of its
employees solely on the basis of respondeat superior in a 42 U.S.C. § 1983 action, and
consequently the Town cannot be liable for the acts or conduct of the individual defendant

herein, as a matter of law.

SEVENTH AFFIRMATIVE DEFENSE

 

61. _ At all relevant times, Defendant acted in good faith and in full accordance with
the law.
EIGHTH AFFIRMATIVE DEFENSE
62. If Plaintiff sustained damages as alleged in the Verified Complaint, such damages
were sustained solely through and by virtue of the conduct of Plaintiff without any actions on the
part of Defendant contributing thereto.

NINTH AFFIRMATIVE DEFENSE

63. _ Plaintiff's constitutional rights have not been violated.
TENTH AFFIRMATIVE DEFENSE
64. The actions complained of were reasonable and in full accord with the applicable
law.
ELEVENTH AFFIRMATIVE DEFENSE
65. The actions of the Defendant were justified, undertaken in good faith and without
malicious intent, and were at all times within the scope of their authority and in accordance with

all Federal, New York State and local law, rules and/or regulations.

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TWELFTH AFFIRMATIVE DEFENSE

66. At all applicable times herein, Defendant, its agencies, departments and

employees enjoyed full, partial or qualified immunity from suit.

WHEREFORE, Defendant respectfully demands that Plaintiff's complaint be dismissed
in its entirety with prejudice inclusive of his wherefore paragraphs (a) and (b), and for all other
relief that the Court deems just and proper.

Dated: Garden City, New York
July 15, 2016

Yours, etc.

BERKMAN, HENOCH, PETERSON,
PEDDY & FENCHEL, P.C.

Donna A. Napolitano
Special Counsel to Defendant, Town of Hempstead
100 Garden City Plaza
Garden City, New York 11530
(516) 222-6200

 

TO: Jonathan A. Tand, Esq.
Attorneys for Plaintiff
Jonathan A. Tand & Associates
990 Stewart Avenue, Suite 130
Garden City, New York 11530

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VERIFICAT

STATE OF NEW YORK _ )
) SS.
COUNTY OF NASSAU )
I, Michael J. Zappolo, being duly sworn, deposes and says:
I am the Commissioner for the Town of Hempstead’s Department of Parks and
Recreation; I have read the foregoing Verified Answer and know the contents thereof; the same

is true to my knowledge, except as to matters therein stated to be alleged upon information and

belief and as to those matters I believe it to be true.

 

Sworn to before me this
15% day of July, 2016

 

 
 

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Departme.
Discipline # ;

 

NOTICE OF DISCIPLINE AND CHARGES

 

Soerlhie Mem HGWAES. Reichert er mee: Title:
Details: (Additional Sheets Attached? 0 YES‘#4 NO)

 

 

 

 

 

 

 

 

 

 

 

 

DESCRIBE NATURE OF INFRACTION: HISTORY

While assigned to Jeeanside Park fox the Scheduled Date(s)

hours of Jan = 3pm, you did on Wedneeday, Thirsday, and : ; /

Friday, August 19, a0 21, 2009 leave your installation |) Written Reprimand(s):

after punching in td attend a position held by you at the |

East, Rockaway High School 28 a coach from 7:30 am to 11:30 ans

Suspensions:

You did admit to this during the Town's investication, # Days Dates

in the presence of a CSR: Reprasentative. Additionally,

you called in sick from Adcust 246, 2008 through . Est

September 2, 2009 during which tine sou continued to 2nd ees a ;

work for the Eest Rockavay Wiech School as a coach. | 3rd :
OUNCES weno eeiicnentcidt gaan

Supervisor: sei Date: i i

PART2 |

Department Comments: 2 °

Fora MPFRRCTIONS OF “THs Nevrore Wit, Resear ys
J Bem oe Tie oF Emme sui

 

   

 

    
 
  

 

CURRENT DEPARTMENT ACTION ;
(Chipok'a taken)
GF Reprimand es ion wio Pay: 3. days (BEF. Duel ajo )
CF Fine C1 Loss of Leave Entitlements: days of .... leave
oO Demotioni in Gratis C1 Termination (Effective Date: yo
- ’ C] Other
Sig Ss NN ¥ A AD ALU OA) pate: LL 1 kes of

or punishment beyond a

Employee Signature: “pare: 24 7G 1 09 (

 

<= algnotire Indicates Fook af Motice only)
eerily that the employee was served with and refused to accept O orsign O a.copy of this Notice.
Authorized Signature: Date: i b

White Copy - Dept. Pers, File Canary Copy. T.A. Office Pink Copy - TO. ~ CS.BA: Goldenrod Copy~ Employee
Rev, 1/96
Case 2:15-cv-03879-JMA-ARL Document 50-3 -Filed 11/14/19~ Page 16 of 20 PagelD #: 148

ar : fy
* “ye wee
November 6, 2009.

i, Edward Reicherter, accept the 30-day suspension without pay, issued
this date, and agree not to grieve this suspension in any manner.

       

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Edward Reicherter (Dat)

 
 

 

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PERSONNEL CHOSEN FOR MERIT AND FITNESS. WITHOUT REGARD TO RACE, RELIGION, SEX, AGE,
COLOR OR NATIONAL ORIGIN, DISABILITY, MARITAL STATUS OR ANY OTHER NON-MERIT FACTOR

CIVIL SERVICE COMMISSION

 

KATE MURRAY
Supervisor
uncil Merb Commissioners
°° os ALDO J. CAPERNA, Chairman
ANTHONY J. SANTINO ANGIE M. CULLIN BERNARD MIROTZNIK
DOROTHY L. L Goossy GARY HUDES re MICHAEL PERRY
JAMES DAR EDWARD A. AMBROSINO 350 FRONT STREET
NASRIN G, ARMAD DONALD X. CLAVIN, JR. HEMPSTEAD, NY 11550-4037 ROBERT W. SCHMIDT

Town Clark Recelver of Taxes 516-489-5000 Ext. 3389 Executive Director

 

EEE; A NON-REFUNDABLE Processing Fee of $30.00 must be submitted for each separately numbered
examination for which you apply. A certified bank check or money order, made payable to: TOWN OF
HEMPSTEAD. NO CASH OR PERSONAL CHECKS WILL BE ACCEPTED. SEE GENERAL
INSTRUCTIONS FOR FURTHER DETAILS.

SALARY: Varies.

DUTIES: Plans, organizes, coordinates, and supervises the operation and maintenance of a wide variety of
recreational facilities within the confines of one or more Town of Hempstead, Department of Parks and Recreation,
Special Park Districts. Performs related duties as required.

 

fulltime permanent, competitive-class status as a PARK SUPERVISOR III or PARKS MAINTENANCE
SUPERVISOR, with the Town of Hempstead, Department of Parks & Recreation, for at least 12 months
immediately preceding the examination, or be on a valid, unexpired leave of absence from such position.

 

New York Soe Scpertnent of Motor Vehicle.

   

VACANCIES: The Departmental eligible list established as a result of this examination will be used t to fill

following ar areas:

Administrative Supervision;

Educating and Interacting with the Public;
Maintenance of Buildings and Equipment;
Operation of Park Facilities;

Preparing Written Material.

wewno

The New York State Department of Civil Service has not prepared a test guide for this examination. However,
candidates may find information i in the  Pubtication "How to Take a a Written Test’ helpful in preparing for this test.

 

PAGE | OF 3

 
 

 

SPECIAL PARK DISTRICT SUPERVISOR - #74-774 (Continued)

 

iC TO CAN S$: Candidates are ALLOWED to use quiet, hand-held, solar or battery-powered calculators for
this examination. Devices with typewriter keyboards, such as computers, spel!-checkers, personal digital assistants, address
beoks, language translators, dictionaries, cell phones, and any similar devices are prohibited.

This Commission reserves the right to limit the number of examinations, which may be taken by a candidate on a single test
date.

  

SENIORITY: Seniority credits will be added only to the scores of passing candidates. Each passing candidate will be awarded one
tenth of @ point (.10) for each 6 months of continuous, permanent competitive service within the jurisdiction, up to a maximum of
twenty years.

If your application is deemed satisfactory, the Commission will notify you by mail of eligibility to take the examination.
Exam admittance notice will accompany such notification. IF YOU HAVE NOT RECEIVED YOUR EXAMINATION
ADMITTANCE NOTICE BY TWO DAYS BEFORE THE EXAM DATE, PLEASE CONTACT THIS OFFICE.

This written examination is being prepared and rated by the New York State, Department of Civil Service. (See General
Instructions.)

 

ON YOUR APPLICATION: FORM. FOR ADDITIONAL EXAMINATION INFORMATION, PLEASE CALL: (516) 489-
5000, EXT. 3389.

 

TAKE THE TEST ON THE ANNOUNCED TEST DATE DUE TO.A CONFLICT WITH A RELIGIOUS OBSERVANCE
OR PRACTICE, CHECK THE SPECIAL ARRANGEMENT BOX ON THE TOP OF THE APPLICATION. WE WILL
ARRANGE FOR YOU TO TAKE THE TEST ON A DIFFERENT DATE, USUALLY THE FOLLOWING MONDAY.

 

1. Administrative Supervision - - - These questions test for knowledge of the principles and practices involved in
directing the activities of a large subordinate staff, including subordinate supervisors. Questions relate to the
personal interactions between an upper level supervisor and his/her subordinate supervisors in the
accomplishment of objectives. These questions cover such areas as assigning work to and coordinating the
activities of several units, establishing and guiding staff development programs, evaluating the performance of
subordinate supervisors, and maintaining relationships with other organizational sections.

2. Educating and Interacting with the Public ~ These questions test for knowledge of techniques used to
interact effectively with individuals and/or community groups, to educate or inform them about topics of
concern, to publicize or clarify agency programs or policies, to negotiate conflicts or resolve complaints, and to
represent one's agency or program ina manner in keeping with good public relations practices. Questions may
also cover interacting with others in cooperative efforts of public outreach or service.

3. Maintenance of Buildings and Equipment — These questions test for knowledge of the principles and
practices involved in the overall maintenance, construction, and upkeep of the typical structures, buildings, and
equipment found in park facilities; and may include such areas as proper maintenance and repair of buildings,
roadways, trails, flood control and drainage structures, minor mechanical and electrical systems maintenance,
and safe operating practices.

4, Operation of Park Facilities — These questions test for knowledge of the practices and procedures involved in
operating park facilities and may include such typical areas as job safety, grounds and equipment maintenance,
prioritizing work schedules, inspection and repair of park playgrounds, picnic areas, swimming facilities, public
restrooms, hiking trails, and other park facilities, water and wastewater line repair, proper use of hand and
power tools, revenue collection, customer and employee relations, and proper handling of emergency situations.

5, Preparing Written Material — These questions test for the ability to present information clearly and
accurately, and to organize paragraphs logically and comprehensibly. For some questions, you will be given
information in two or three sentences followed by four restatements of the information. You.must then choose
the best version. For other questions, you will be given paragraphs with their sentences out of order. You must
then choose, from four suggestions, the best order for the sentences.

DATE ISSUED: NOVEMBER 26, 2014

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PROMO-GENERAL INSTRUCTIONS
All inquiries should be directed to the Executive Director, Town of Hempstead Civil Service Commission, 350 Front Street, Hempstead,
New York £1550.

FEE: In accordance with regulations issued by the New York State Department of Civil Service, the examination. prepared for us by the
State will be subject to a Processing Fee. In addition, examinations prepared, purchased, rated by or supplied to the Town of Hempstead
Civil Service Commission will be subject to a Processing Fee.
‘NON-REFUNDABLE: A Processing Fee must be submitted for EACH separately numbered examination for which you apply. Payment
should be submitted with your application in the form of a certified bank check or money order made payable to the TOWN OF
4 AD The payment should also include the examination number(s) and your social security number. NO CASH OR
PERSONAL CHECKS WILL BE ACCEPTED, The Processing Fee for candidates.on Public Assistance in Nassau County will be
WAIVED. Please indicate your Public Assistance claim number on your application. Public Assistance status will be verified with the
Nassau County Department of Social Services.

 

  

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E. Applications submitted without proper payment will be rejected without review,

In writing for an application form or information, candidates should indicate the examination number and title of the position.

 

If education beyond high school is required for eligibility, official transcripts must be submitted. If transcripts were filed previously with
the Civil Service Commission, a notation should be made on the application.

Candidates should be mentally and physically fit to perform the duties compatible with the position. Medical or physical examinations may
be required.

All statements are subject to verification. Inquiries may be made as to character and qualifications.

A record of disrespect for the requirements and processes of law, including repeated traffic offenses or disregard of summonses for traffic
offenses, is grounds for disqualification for examination, or after examination, for certification and appointment.

The Commission does not acknowledge.receipt of applications. if an application is rejected, candidate will be notified and can appeal the
decision by contacting this office, Candidates will be notified when and where to appear for examination.

When the written examination is prepared and rated by the New York State Department of Civil Service in accordance with Section 23-2
of the Civil Service Law, the provisions of the New York State Civil Service Rules and Regulations which deal with the rating of
examinations will apply.

No one will be admitted to the examination site without the official 2
LD.

 

Lists made up as a result of these tests will remain in force for at least one year and may be extended by the Commission not
to exceed four years.

Changing circumstances occasionally result in certification and offers of employment under different conditions, such as higher or lower
salaries, than those announced.

TOWN OF HEMPSTEAD IS AN EQUAL OPPORTUNITY EMPLOYER: It is the policy of the Town of Hempstead to provide for
and promote equal opportunity in employment, compensation and other terms and conditions of employment without discrimination on the
basis of age, race, color, religion, national origin, gender, sexual orientation, marital status, or arrest and/or criminal conviction record
unless based upon a bona fide occupational qualification or other exception.

- To claim veterans’ credits on this examination, an applicant must have served in the United States Armed Forces
at any time during the following dates:
World War II - December 7, 1941 to and including December 31, 1946
Korean Conflict - June 27, 1950 to and including January 31, 1955
Vietnam Conflict - February 28, 196! to and including May 7, 1975
Lebanon - June {, 1983 to and including December 1, 1987
Grenada.~ October 23, 1983 to and including November 21, 1983
Panama - December 20, 1989 to and including January 31, 1990
Persian Guif- August 2, 1990 tothe end of such hostilities (not yet determined)
Commissioned corps of the US public health services: July 29, 1945 - September 2, 1945
June 26, 1950 - July 3, 1952 .
Credit for Lebanon, Grenada and Pan:

   

itary service

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should also contain verification of possessi

 

As of February 15, 1985 New York State Residency at the time of entry into active service is NO LONGER REQUIRED.

A disabled or non-disabled veteran who wishes to establish eligibility for additional credits MUST claim these credits with the filing of
this application. You will be allowed the option of waiving these credits after the completion of the examination.

MULTIPLE EXAMINATIONS SCHEDULED FOR THE SAME DAY: If you have applied to take a written test. announced by either
one or several local jurisdictions (county, town, city) scheduled to be held on the same test date as this written. test, you must notify each of
the local jurisdictions no later than two weeks before the test date, so they can make arrangements for taking all tests at one test site. All
examinations for positions in State government will be held at a State examination center.

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